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IN THE UNITED STATES DISTRICT COURT Y"LD.C.
FOR THE WESTERN DISTRICT OF TENNESSEE 05 AUG l2 PH 3: 29

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sr MICHAEL MoToR EXPRESS, rNC., ) ' ‘L' ll
)
Plaintiff, )
)
Vs. ) N0.05410447An
)
INTERNALREVENUESERVKIL )
)
Defendant. )

 

ORDER DENYING MOTION TO STRIKE JURY DEMAND AS UNNECESSARY

 

The plaintiff, St. l\/[ichael Motor Express, Inc., filed this action against the Internal Revenue
Service (“IRS”) on April 6, 2005. On July 15, 2005, the IRS filed a motion to strike a jury demand
purportedly made by the plaintiff. However, the Court has examined the entire record in this case
and has been unable to locate where plaintiff has ever made a jury demand.] Therefore, the IRS’
motion is DENIED as unnecessary
IT IS SO ORDERED.

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JAM D. TODD
UNI ED STATES DISTRICT JUDGE

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DAT`E

 

1 The only reference to a jury trial in the record is contained in a document attached to a notice setting a
Rule l6(b) scheduling conference, dated June 29, 2005. The document is a set of instructions to counsel for use in
preparing a proposed scheduling order and includes the following statement “This case has been set for JURY trial
on MONDAY, June 19, 2006, at 9:30 A.M. . . .” This erroneous reference to ajury trial apparently was inadvertent
and, in any event, is immaterial as the actual scheduling order issued on July 26, 2005 does not set a trial date at all.

This document entered on the docket sheet in compliance
with Rule 58 end,'or_?g (a) FF\CP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 1:05-CV-01104 was distributed by faX, mail, or direct printing on
August 15, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

